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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  In Re:                                        )
                                                )      No. 24-80991
  Nathalie D. Jackson,                          )      Judge Thomas M. Lynch
                                                )
                 Debtor(s).                     )      Chapter 13

                                    NOTICE OF MOTION

  To: SEE ATTACHED SERVICE LIST

          PLEASE TAKE NOTICE that on September 26, 2024 at 10:00 AM, I will appear
  before the Honorable Thomas M. Lynch, or any judge sitting in that judge’s place, either in
  Courtroom 3100 of the Stanley J. Roszkowski United States Courthouse, 327 S. Church
  Street, Rockford, IL 61101, or electronically as described below, and present the motion
  of Debtor’s Attorney for Compensation, a copy of which is attached.

        Important: Only parties and their counsel may appear for presentment of the
  motion electronically using Zoom for Government. All others must appear in person.

         To appear by video, use this link: https://www.zoomgov.com/join. Then enter the
  meeting ID and password.

         To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-
  828- 7666. Then enter the meeting ID and password.

          Meeting ID and passcode. The meeting ID for this hearing is: 160 291 5226 and
  the passcode is 852255. The meeting ID and passcode can also be found on the judge’s page
  on the court’s website.

         If you object to this motion and want it called on the presentment date above, you
  must file a Notice of Objection no later than two (2) business days before that date. If a
  Notice of Objection is timely filed, the motion will be called on the presentment date. If no
  Notice of Objection is timely filed, the court may grant the motion in advance without calling
  it.
                                                                /s/ Vaughn White
                                                                Vaughn White
                                                                VW LAW LLC
                                                                Attorney for Debtor(s)
                                                                1700 Park St, Suite 203
                                                                Naperville, IL 60563
                                                                630-429-9010
                                                                vaughn@vaughnwhite.com
                                                                ARDC # 6198291


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                                CERTIFICATE OF SERVICE

         I, Vaughn A. White, an attorney, certify that I served a copy of this notice and the
  attached motion on each entity shown on the attached list at the address shown and by the
  method indicated on the list on July 26, 2024.


                                              /s/ Vaughn White
                                              Vaughn White




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                                                      Notice Recipients
District/Off: 0752−3                        User: admin                           Date Created: 7/24/2024
Case: 24−80991                              Form ID: 309I                         Total: 24


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Nathalie D Jackson       611 W Menominee St           Belvidere, IL 61008
ust         Patrick S Layng       Office of the U.S. Trustee, Region 11        780 Regent St.        Suite 304       Madison, WI
            53715
tr          Lydia Meyer        Lydia Meyer − 13 Trustee         P.o. Box 14127         Rockford, IL 61105−4127
aty         Vaughn A White         Vw Law LLC            1700 Park St       Suite 203        Naperville, IL 60563
30944856 Affirm, Inc.         Attn: Bankruptcy Attn: Bankruptcy         650 California St , Fl 12       San Francisco, CA
            94108−2716
30944857 Avant/WebBank             222 North LaSalle Street Suite 1600        Chicago, IL 60601
30944858 Capital One          PO Box 30285          Salt Lake City, UT 84130
30944859 Capital One Auto Finance            Attn: Bankruptcy 7933 Preston Rd         Plano, TX 75024−2302
30944860 Chase Card Services          Attn: Bankruptcy P.O. 15298          Wilmington, DE 19850
30944861 Citibank/Best Buy          Citicorp Cr Srvs/Centralized Bankruptcy          PO Box 790040          St Louis, MO
            63179−0040
30944862 Citibank/The Home Depot             Citicorp Cr Srvs/Centralized Bankruptcy         PO Box 790040          St Louis, MO
            63179−0040
30944863 Discover Financial          PO Box 3025          New Albany, OH 43054
30944865 Internal Revenue Service          Centralized Insolvency Operation          Post Office Box 7346        Philadelphia, PA
            19101
30944864 Internal Revenue Service          PO Box BOX 7317            Philadelphia, PA 19101
30944866 Kohls/Capital One           Attn: Credit Administrator       PO Box 3043          Milwaukee, WI 53201−3043
30944867 LoanDepot           Attn: Bankruptcy 26642 Towne Center            Foothill Ranch, CA 92610
30944868 Macys/fdsb          Attn: Bankruptcy 9111 Duke Boulevard            Mason, OH 45040
30944869 Mariner Finance, LLC            Attn: Bankruptcy 8211 Town Center Drive           Nottingham, MD 21236
30944870 Marinosci Law Group            2215 Enterprise Drive 1512         Westchester, IL 60154
30947240 Quantum3 Group LLC as agent for              Aqua Finance Inc        PO Box 788          Kirkland, WA
            98083−0788
30944871 Synchrony Bank/Lowes             Attn: Bankruptcy        Po Box 965060           Orlando, FL 32896
30944872 Upgrade, Inc.         275 Battery St        San Francisco, CA 94111
30944873 VW LAW LLC               1755 Park St Suite 200        Naperville, IL 60563
30944874 Wells Fargo Bank NA            Attn: Bankruptcy 1 Home Campus MAC X2303                 Des Moines, IA 50328
                                                                                                                     TOTAL: 24
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Form 13-9 (20210826)
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Western Division

In Re:                                        )        Case             24-80991
NATHALIE D. JACKSON                           )        Number:
                                              )              Chapter:    13
                                              )
                                              )                          Honorable Thomas M. Lynch
                                              )
               Debtor(s)                )
 ATTORNEY'S APPLICATION FOR CHAPTER 13 COMPENSATION UNDER
        THE COURT-APPROVED RETENTION AGREEMENT
              (Use for cases filed on or after April 20, 2015)

The undersigned attorney seeks compensation pursuant to 11 U.S.C. § 330(a)(4)(B) and the Court-Approved
Retention Agreement executed by the debtor(s) and the attorney, for representing the interests of the debtor(s)
in this case.

   Use of Court-Approved Retention Agreement:

   The attorney and the debtor(s) have entered into the Court-Approved Retention Agreement.

   Attorney Certification:

   The attorney hereby certifies that:
   1. All disclosures required by Local Rule 2016-1 have been made.

   2. The attorney and the debtor(s) have either:

    (i) not entered into any other agreements that provide for the attorney to receive:

    a. any kind of compensation, reimbursement, or other payment, or

    b. any form of, or security for, compensation, reimbursement, or other payment that varies from the Court-
                       Approved Retention Agreement; or

    (ii) have specifically discussed and understand that:

    a. the Bankruptcy Code may require a debtor's attorney to provide the debtor with certain documents and
                      agreements at the start of the representation;

    b. the terms of the Court-Approved Retention Agreement take the place of any conflicting provision in an
                       earlier agreement;

    c. the Court-Approved Retention Agreement cannot be modified in any way by other agreements; and

    d. any provision of another agreement between the debtor and the attorney that conflicts with the Court-
                      Approved Retention Agreement is void.
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     Form 13-9 (20210826)
Compensation sought for services in this case pursuant to the Court-Approved Retention Agreement:
  $4500       flat fee for services through case closing

Reimbursement sought for expenses in this case:
  $0       for filing fee paid by the attorney with the attorney's funds
  $62         for other expenses incurred in connection with the case and paid by the attorney with
              the attorney's funds (itemization must be attached)

  $62          Total reimbursement requested for expenses.

Funds previously paid to the attorney by or on behalf of the debtor(s) in the year before filing this case
and not reflected in or related to the Court-Approved Retention Agreement:
      None
    A total of $          .




Date of Application: 07/26/2024               Attorney Signature /s/ Vaughn A. White
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Illinois

In re        Jackson, Nathalie D

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      13


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ✔ FLAT FEE
        ❑
        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $4,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $3,000.00

        Balance Due ................................................................................................................................................      $1,500.00


        ❑ RETAINER
        For legal services, I have agreed to accept and received a retainer of .......................................................................................................................................

        The undersigned shall bill against the retainer at an hourly rate of .............................................................................................................................................
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.                   $0.00                  of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;




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B2030 (Form 2030) (12/15)

      b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                               CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                         07/22/2024                                              /s/ Vaughn White
                Date                                          Vaughn White
                                                              Signature of Attorney
                                                                                             Bar Number: 6198291
                                                                                                     VW LAW LLC
                                                                                            1700 Park St Suite 203
                                                                                              Naperville, IL 60563
                                                                                            Phone: (630) 429-9010

                                                                                   VW LAW LLC
                                                              Name of law firm




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                                          EXPENSES



     Nathalie D. Jackson

     Case No.         24-80991



     Credit Report                         $37.00

     Postage and Copying                   $25.00



     TOTAL                                 $62.00
